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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BRANDON SMIETANA, SKYCOIN GLOBAL
 FOUNDATION LIMITED, a Singapore
 Company, and SYMBOLIC ANALYTICS INC.,
 a Delaware Corporation,

                              Plaintiffs,                   Civil Action No. 24-cv-08617

        v.                                                  Judge: Hon. John Robert Blakey

 BRADFORD STEPHENS, AARON
 KUNSTMAN, JOEL WAYNE CUTHRIELL,
 MORGEN PECK, CATHERINE BYERLY,
 ADVANCE MAGAZINE PUBLISHERS, INC.,
 d/b/a THE NEW YORKER, and UNKNOWN
 INDIVIDUALS AND COMPANIES,

                              Defendants.

                        THIRD AMENDED COMPLAINT AT LAW

       NOW COME the Plaintiffs, BRANDON SMIETANA, SKYCOIN GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, and for their

Second Amended Complaint at Law against Defendants, BRADFORD STEPHENS, AARON

KUNSTMAN, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE BYERLY,

ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a THE NEW YORKER, and UNKNOWN

INDIVIDUAL(S) AND COMPANIES, state as follows:

                                            PARTIES

       1.     SKYCOIN GLOBAL FOUNDATION LIMITED, a Singapore Company (hereafter

“Skycoin”) is a consortium of related entities involved in the development of software, hardware,

design, manufacturing, and services operating under the consumer brand name “Skycoin,” which



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includes Skycoin Global Foundation, Symbolic Analytics Inc., Shellpay China, and other entities

that are responsible for regional operations or management of specific assets of Skycoin’s global

operations.

         2.    Skycoin created 100 million Skycoin Tokens during its launch in 2013, which were

distributed and traded on various exchanges by 2017.

         3.    The peak market capitalization of all existing Skycoin Tokens reached $5 billion

USD in January 2018.

         4.    Skycoin is a private company organized under the laws of Singapore, its principal

place of business located at 2 Venture Drive, #11-31, Vision Exchange, Singapore.

         5.    Plaintiff SYMBOLIC ANALYTICS, INC. (“SA”) is a private company organized

under the laws of Delaware, United States.

         6.    Plaintiff, BRANDON SMIETANA (“Smietana”) is an individual citizen of the

United States and is the Chief Software Architect and authorized representative of Skycoin and

SA.

         7.    Defendant BRADFORD STEPHENS (“Stephens”) is an individual domiciled the

City of Chicago and State of Illinois, United States.

         8.    On information and belief, Defendant JOEL WAYNE CUTHRIELL (“Cuthriell”)

is an individual domiciled in the State of Oklahoma, United States.

         9.    Defendant AARON KUNSTMAN (“Kunstman”) is an individual domiciled in the

State of Wisconsin, United States.

         10.   “Sudo” is a network of similarly named Telegram accounts, operated by a minimum

of four persons. At least one of these persons is known to be Kunstman. Stephens is widely




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believed to also be one of the account operators. The other two or more operators are currently

unknown.

        11.      Defendant CATHERINE BYERLY (“Byerly”) is an individual domiciled in the

State of Florida, United States.

        12.      Byerly was employed by a marketing company called 22 Acacia Consulting,

located in Chicago, Illinois.

        13.      Byerly was hired by Stephens through her employment at 22 Acacia Consulting to

perform marketing services for Skycoin.

        14.      Defendant MORGEN PECK (“Peck”) is a privately paid journalist and individual

domiciled in the State of New York, United States.

        15.      Defendant ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a THE NEW

YORKER (“Advance”) is a global mass media company in the business of producing world

leading print, digital, video, and social media brands organized under the laws of the State of New

York.

        16.      Advance is the owner, operator, and publisher of The New Yorker Magazine (“The

New Yorker”), a prominent American weekly magazine.

        17.      On August 28, 2021, Peck authored an article published in The New Yorker titled

Pumpers, Dumpers, and Shills: The Skycoin Saga (the “New Yorker Article”).1 A copy of the New

Yorker Article is attached hereto as Exhibit A.

        18.      Stephens, recognizing the success of Skycoin, devised a plan and scheme to

defraud, extort, and steal money and assets from Skycoin in concert with some or all of the other

named party Defendants.


1
  The article can be found at: https://www.newyorker.com/tech/annals-of-technology/pumpers-dumpers-and-shills-
the-skycoin-saga

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                                  JURISDICTION AND VENUE

        19.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332(a)(1),

1332(a)(2) and 1332(a)(3) given that the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and in addition thereto, this civil action is between (a)

citizens of different States (28 U.S.C. § 1332(a)(1)),(b) citizens of a State and a citizen or subject

of a foreign state who are not domiciled in the same state (29 U.S.C. § 1332(a)(2)), and/or (c)

citizens of different States and in which a citizen or subject of a foreign state is an additional party

(28 U.S.C. § 1332(a)(3)).

        20.     This Court may exercise supplemental subject matter jurisdiction over all counts

contained in this Third Amended Complaint pursuant to 28 U.S.C. §§ 1367 because the claims

arise out of the same core or nucleus of operative fact as the other claims and are so related to

those claims that they form part of the same case or controversy. The Plaintiffs also have a common

interest in one or more of the claims.

        21.     Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. §

1391(b)(1) because the Defendant Stephens resides in the Northern District of Illinois.

                             FACTS COMMON TO ALL COUNTS

        22.     On or about January 8, 2018, Plaintiffs entered into discussions with Stephens to

develop, launch, and manage a comprehensive marketing and brand awareness program for

Skycoin, including but not limited to revamping Skycoin’s website, performing search engine

optimization (“SEO”) services, and generating positive publicity for Skycoin (hereafter referred

to as the “Marketing Program”).




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       23.     On or about January 8, 2018, Stephens represented himself to be the owner of

Smolder LLC, a marketing startup company, to which the payments would be made for the

Marketing Program.

       24.     Stephens claimed that his business partners were Ryan Eagle (“Eagle”), Adam

Young (“Young”), and Harrison Gevirtz (“Gevirtz”) (Stephens, Eagle, Young, and Gevirtz will

collectively be referred to hereinafter as the “Smolder Partners”).

       25.     Stephens represented to Plaintiffs that he, along with the other Smolder Partners,

would be providing the marketing services contemplated by the Marketing Program.

       26.     Stephens represented to Plaintiffs that Eagle and Young were the individuals who

would receive Plaintiffs’ payments and that they were responsible for handling the money.

       27.     Stephens represented to Plaintiffs that the Smolder Partners were “inseparable” and

that all business activities they conducted were done jointly and that payment for said activities

was to be shared or split between them.

       28.     Unbeknownst to Plaintiffs, Stephens and Eagle were prohibited from engaging in

activities such as the Marketing Program pursuant to an order from the Federal Trade Commission

dated February 19, 2014 (“the FTC Order”). See Federal Trade Commission v. CPA Tank, Inc.,

Vito Glazers, Eagle Web Assets, Inc., and Ryan Eagle, Case No. 14-cv-1239.

       29.     At all times relevant herein, Stephens was aware that pursuant to the FTC Order,

he could not accept payments for marketing activities.

       30.     Stephens never informed Plaintiffs of the existence of the FTC Order and further

violated it by offering to provide marketing services to Plaintiffs.




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       31.    If Plaintiffs had known about the FTC Order and/or if Stephens had not lied about

and concealed the FTC Order, Plaintiffs would not have entered into the Marketing Program with

Stephens and the Smolder Partners.

       32.    Plaintiffs reached an oral agreement with Stephens to implement the Marketing

Program, and as part and parcel of that agreement, paid the Smolder Partners $107,948.00

($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form of 1,100 Skycoin Tokens)

(the “Initial Payment”). The Initial Payment included an expense budget for an upcoming industry

conference in Las Vegas, Nevada. Plaintiffs and Stephens explicitly agreed that as part of their

agreement, any expense in excess of $1,000.00 would require prior approval from Skycoin.

       33.    In addition to the Initial Payment, Plaintiffs paid the Smolder Partners

approximately $800,000.00 in Skycoin Tokens for an internet advertising campaign.

       34.    Shortly after receiving the Initial Payment, Stephens submitted two additional

invoices for certain work allegedly performed by Byerly totaling approximately $14,752.44.

       35.    On or about January 12, 2018, Stephens and Byerly notified Plaintiffs of a potential

crisis that could critically impact Skycoin’s business, marketing, and internet presence. As

represented by Stephens and Byerly, an unknown third party was targeting Skycoin by linking

pornographic blogs and other harmful spam content to Skycoin’s website. Such content would

function to decrease Skycoin’s website’s ranking precipitously in search engines and irrevocably

damage Skycoin’s image, reputation, and internet presence.

       36.    In order to combat the internet attack by said third party, Stephens represented to

Plaintiffs that an additional payment of $38,000.00 would be required.

       37.    On or about January 14, 2018, and January 19, 2018, Skycoin paid the Smolder

Partners the requested $38,000.00.



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       38.      The attack on Skycoin’s website damaged Skycoin’s SEO ranking and significantly

reduced internet traffic to Skycoin’s website.

       39.      In January of 2018, Skycoin made the following payments to the Smolder Partners

in connection with the Marketing Program:

             a. January 11, 2018: 20,000 Skycoin Tokens ($842,400.00) for the Marketing
                Program budget;

             b. January 13, 2018: One (1) Bitcoin ($14,314.00) for a conference in Miami, Florida;

             c. January 16, 2018: 3,899 Skycoin Tokens ($121,337.00) for the Marketing Program
                budget;

             d. January 18, 2018: Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens
                ($80,929.00) for Marketing Program labor costs; and

             e. January 19, 2018: Four (4) Bitcoins (56,457.00) and a separate payment of 1.30
                Bitcoin for the Marketing Program and to combat the aforementioned attacks on
                Skycoin’s website. These services were never performed.

       40.      In late January to early February 2018, Stephens demanded that Skycoin pay the

Smolder Partners $100,000.00 per month to ward off the supposed third-party attacks on Skycoin’s

website. Stephens later increased his monthly demand to $300,000.00 in order to quell the attacks.

       41.      In early February of 2018, Plaintiffs discovered that in actuality, there was no third

party attacking Skycoin’s website. Rather, the attack was instigated by Stephens and the Smolder

Partners as a fraudulent means to extract additional funds from Skycoin. The invoices submitted

by Stephens to combat the alleged “attacks” were fabricated.

       42.      In early February of 2018, SA received deficient invoices that were highly

suggestive of fraud. Upon determining that there may be fraud in the Smolder Partners’ invoices,

Plaintiffs discontinued all additional payments.




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                                 DEFENDANTS’ EXTORTION

       43.     Upon Skycoin’s refusal to pay Stephens the monthly payments requested in or

around February 2018, Smietana and Stephens met in Shanghai, China, with Eagle joining the

meeting via Zoom.

       44.     During this meeting, Stephens threatened to have Skycoin delisted from all

exchanges including, for example, Bittrex and Binance, unless Smietana agreed to pay him

$30,000,000.00 in Bitcoin and $1,000,000.00 in US Dollars.

       45.     Stephens’ threats included statements that failure to comply would result in

Skycoin’s destruction and the price of Skycoin being driven to zero.

       46.     Stephens also threatened that if Plaintiffs refused to pay, he would block Skycoin

from being listed on Bitfinex, another prominent online cryptocurrency exchange, and would

interfere with Plaintiffs’ contracts so as to ensure that “no one would work with” Plaintiffs.

       47.     Stephens attempted to blackmail Plaintiffs into making Stephens the COO of

Skycoin and put him in control of the management of the company. Stephens also attempted to

blackmail Plaintiffs into giving Gevirtz control of all Skycoin’s bank accounts.

       48.     Smietana, in fear of Stephens’ threats, capitulated to their demand and initiated the

first of three (3) extortion payments on or about February 9, 2018, in the amount of $127,000.00

(the “Extortion Payments”).

       49.     On or about February 22, 2018, the Marketing Program engagement between

Plaintiffs and the Smolder Partners ended due to pressure from Skycoin's advisory board because

of the discovery of the fraudulent invoicing and business practices.

       50.     Plaintiffs requested a refund of the unspent prepayments made for the Marketing

Program, however, the Smolder Partners refused to return any of said money.



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           51.     In and around the time Stephens demanded the Extortion Payments from Smietana,

he and the Smolder Partners also attempted to hostilely seize control of Skycoin. Specifically,

Stephens threatened to orchestrate the publication of a series of negative and damaging articles

through various print and online media sources unless Smietana made Stephens COO of Skycoin.

           52.     The Sudo account run by Stephens and/or Kunstman openly admitted their

involvement in maintaining the Sudo account and that they were “trying to extort [S]ynth…for

$1,000,000.00,” through threatening to have published a series of articles and lies about Smietana

and Skycoin and that they had a team of twelve (12) individuals who would be splitting the money

(See Exhibit B).2

           53.     In furtherance of this conspiracy and plan to take over Skycoin, Stephens paid

journalist Tristian Greene (“Greene”) to write and publish the article on The Next Web entitled

Skycoin: Anatomy of a cryptocurrency scam, February 15, 2018 - 10:47 pm UTC under an

anonymous name.3

           54.     The negative article caused severe damage to the price of Skycoin Tokens and to

Skycoin’s reputation. Stephens openly admitted that he was responsible for paying Greene to

publish the article but went to Skycoin’s investors and claimed that Smietana had ordered him to

have a negative article published to intentionally destroy the price of Skycoin Token.

           55.     Stephens attempted to organize a management and investor revolt in order to

transfer control of the company to himself under the pretense that the unlawful actions Stephens

himself had performed were in fact performed by Smietana.




2
    “Synth” is Smietana’s online persona.
3
    The article can be found at: https://thenextweb.com/news/anatomy-of-a-cryptocurrency-scam-in-the-wild

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        56.      Greene later cited that same article in another negative Skycoin article on The Next

Web, in an article titled Exclusive: We suspected this shady cryptocurrency project was a scam.

Now we’re sure of it. Published March 8, 2018, 3:22 am UTC.4

        57.      A key part of Skycoin’s business plan was to be listed on the Bittrex Exchange. The

Bittrex Exchange is a world-wide trading platform that facilitates real-time order execution of

crypto currencies, such as Skycoin.

        58.      Skycoin devoted significant resources to obtain a Bittrex listing, which had been

negotiated through a third party.

        59.      Knowing that Skycoin was about to obtain a Bittrex listing, on or about February

25, 2018, Stephens threatened Smietana that unless Smietana paid him, he would approach Bittrex

and purposely interfere with Skycoin’s third-party relationships to prevent Skycoin from being

listed on Bittrex.

        60.      Smietana refused to pay the money demanded by Stephens, and in turn he did, in

fact, provide untrue information to Bittrex and which ultimately led to the spread of false rumors

regarding Skycoin and Skycoin ultimately not being listed on the Bittrex Exchange.

        61.      Between February 26, 2018 and March 9, 2018, Stephens and Byerly stole access

to Skycoin’s media accounts, including but not limited to, Skycoin’s Shopify store, Twitter

account, LinkedIn account, Slack channel account, and accounts associate with the operation of

Skycoin’s website. These media accounts were an integral and necessary component of Skycoin’s

business.

        62.      On or about October 18, 2018, Stephens demanded over $150,000.00 for return of

Skycoin’s stolen computer-based assets and media accounts.


4
 The article can be found at: https://thenextweb.com/news/exclusive-we-suspected-this-shady-cryptocurrency-
project-was-a-scam-now-were-sure-of-it

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       63.     On or about May 24, 2018, Binace announced that it would list Skycoin on its

exchange. Binance holds itself out as the “world’s largest crypto exchange” and is a trading

platform where customers can buy and sell cryptocurrencies. It is highly desirable for

cryptocurrencies to be listed on the Binance exchange.

       64.     After Smietana refused to pay the Extortion Payments demanded by Stephens,

Stephens conspired with Yan Xiandong, Li Min, Sam Sing Fond and Sun Fei (collectively the

“Assailants”) in a plot to kidnap Smietana and his girlfriend and steal $30,000,000.00 that Stephens

claimed he was due from Skycoin.

       65.     In furtherance of the conspiracy with Stephens to kidnap Smietana and his

girlfriend and steal money from them, the Assailants invaded Smietana’s home where they

violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

property, company accounts for operation of business, and cryptocurrency wallets.

       66.     Under threats of further violence and death, Smietana provided the passwords to

his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

Skycoin Tokens with a market value of $81,018.98, totaling $220,179.31.

       67.     During the siege and home invasion, the Assailants called Stephens and complained

that they did not find the thousands of Bitcoin promised to them.

                          DEFENDANTS' THEFT OF ACCOUNTS

       68.     Prior to the conclusion of Stephens’ work with Skycoin, upon notice of his

separation, the company made a list of all accounts to which Stephens had authorized access and

thereinafter terminated his access to those accounts.




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       69.     Skycoin staff contacted Stephens requesting that he return all company assets and

company accounts, and to provide accounting statements of expenditures so that Plaintiffs could

calculate how much unspent money was due to the company.

       70.     SA staff and members of Skycoin contacted Stephens requesting that he return all

company assets and company accounts, and to provide accounting statements of expenditures so

that Plaintiffs could calculate how much unspent money was due to the company.

       71.     Stephens acknowledged that there were unspent funds due back to Plaintiffs,

however, instead of returning the money due, Stephens hacked into the various company accounts

and began to engage in a series of extortion and fraudulent acts against Skycoin.

       72.     Stephens and Byerly changed the passwords to some of the company accounts,

locked Skycoin and SA out of them, and then attempted to extort the company for an additional

$150,000.00.

       73.     Stephens and Byerly also refused to return the unspent money that was prepaid and

allocated for marketing services. The amount due back to Skycoin and SA was in excess of

$800,000.00.

       74.     Plaintiffs incurred considerable expense to regain access to the stolen accounts and

to migrate the content to the reacquired accounts. Those accounts included, but were not limited

to, the Medium Account, Shopify, Twitter, Skycoin Telegram, Skycoin Rewards, Facebook, and

LinkedIn.

                      DEFENDANTS’ UNAUTHORIZED EXPENSES

       75.     Stephens and Byerly engaged in various schemes to defraud Skycoin and attempted

to invoice unapproved, non-business-related costs including a Las Vegas prostitute orgy,

unsubstantiated ATM withdrawals, personal entertainment costs, and what is believed to be



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money for the purchase of drugs. These expenses were neither approved by Skycoin nor related

to any legitimate business activities.

      76.       For example, Stephens sent invoices to Skycoin totaling $50,000.00 for cash

payments for two days in Las Vegas. Despite several requests, Stephens refused to produce ATM

receipts for the $50,000.00 expense, could not explain how the cash was used, could not show

that the expenses were business related, could not justify the amount spent, and could not produce

receipts for any “cash payments.”

      77.       Stephens and Byerly billed SA for subcontractors without seeking prior

authorization from Plaintiffs for such payments.

      78.       Stephens and Byerly engaged in a scheme to defraud Plaintiffs by invoicing full

time rates for subcontractors employed part time and even invoicing Company for nonexistent

persons.

      79.       Stephens and Byerly billed for subcontractor work that not only both pre-dated and

post-dated the Marketing Program, but which also included full time rates for part-time work and

also included invoicing from nonexistent subcontractors.

      80.       Stephens and Byerly billed for invalid date periods, such as submitting invoices for

billing periods prior to the Marketing Program and work performed for billing periods after the

termination of their relationship with Skycoin.

      81.       Stephens and Byerly attempted to bill for costs which had not been submitted to the

Company for preapproval and made misrepresentations to Skycoin staff, including Skycoin’s

Head of Events, who was responsible for event budgets. Stephens made false misrepresentations

claiming that these expenses had received approval, and that the Company had been notified of

the expenses.



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       82.      Stephens and Byerly attempted to bill the company for unapproved "events" on

non-existent dates. Additionally, there were several other strong indicators that many or all of the

claimed expenses were fraudulent or manufactured.

                                     BINANCE DELISTING

       83.      In and around June of 2020, because Smietana refused to capitulate to the extortion

demands, Stephens, in conjunction with Kunstman and others, embarked upon a scheme and plan

to delist Skycoin from Binance and effectively destroy Skycoin’s reputation and depress Skycoin

Tokens’ market value.

       84.      In furtherance of this plan and scheme, Stephens solicited other individuals to make

false complaints against Skycoin in order to have Binance delist Skycoin from the exchange. The

false complaints they directed others to make to Binance to achieve the delisting are as follows:

             a. That Skycoin sells Skycoin Tokens customers outside of the Binance exchange
                but after receiving the funds, never sends those customers the Skycoin Tokens for
                which they paid;

             b. That individuals from Skycoin would privately meet with customers and accept
                payment for Skycoin Tokens at 15% below market value;

             c. After customers consummated such side transactions, they would immediately
                “dump” the Skycoin Tokens on the market;

             d. That Smietana would request that customers privately pay him $1,000,000.00 in
                Bitcoin or cash for discounted Skycoin Tokens that they could then “dump” on the
                market immediately and achieve a $150,000.00 profit; and

             e. That Smietana and Skycoin launders money through customers by promising them
                an immediate 15%-20% profit through the unauthorized purchase of Skycoin
                Tokens.

       85.      Upon information and belief, Cuthriell and other persons were hired to harass

Skycoin and interfere with Skycoin’s relationships with exchanges and partners corporations,

made public statements in Telegram channels bragging that they had paid journalists to publish



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articles to slander the company, and even publicly discussed the type and content of false reports

that needed to be made against Skycoin in order to achieve a delisting from Binance.

       86.      As part of their plan and scheme to have Skycoin delisted from Binance, Stephens,

Kunstman, and Cuthriell also orchestrated having several individuals send repeated complaints to

Binance that included allegations of drug use and criminal charges against Smietana and other

baseless complaints.

       87.      As further evidence of the conspiracy, Cuthriell publicly congratulated all persons

involved in the Binance delisting of Skycoin with the exclamation of “Nice work team” and

“PARTY TIME.”

                                   COUNT I
               FRAUD – BRADFORD STEPHENS AND CATHERINE BYERLY

       88.      Plaintiffs repeat and reallege paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 88 of this Count I as if fully set forth herein.

       89.      Stephens approached Plaintiffs representing himself as a legitimate advertising and

marketing firm, with Stephens and Eagle Web Assets (EWA) as “business partners” involved in

every aspect of the “business.”

       90.      EWA is and/or was a business owned and/or operated by Eagle, Gevirtz, and Young.

       91.      Plaintiffs would later learn that EWA and Eagle, Gevirtz, and Young had a history

of litigation and that these persons were under an FTC Order for fraudulent marketing practices.

       92.      Stephens and Byerly represented to Smietana that they would provide advertising

and marketing services, including web design, online advertising, conference events, and display

advertising.

       93.      Stephens represented to Smietana that he would provide advertising, web design,

and marketing services for Plaintiffs in return for payment.

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        94.       In reality, Stephens had no intention of providing any advertising, web design, or

marketing of any kind for Plaintiffs.

        95.       Stephens and Byerly, in fact, did not provide any advertising or marketing services

for Plaintiffs.

        96.       Stephens and Byerly never provided any web design services on behalf of Plaintiffs.

        97.       In reliance upon the representations of Stephens and Byerly, Plaintiffs paid them

approximately $800,000.00 for their services and the costs of advertising and marketing.

        98.       When asked, Stephens and Byerly represented to Smietana that they had no prior

lawsuits that had been filed against them.

        99.       These representations were knowingly false when made.

        100.      In fact, Stephens’ business partners, Eagle and Gevirtz, had an extensive history of

litigation and had been named in multiple lawsuits and were subject to an FTC injunction for

fraudulent marketing practices.

        101.      Following the payment of the initial $800,000.00, Defendants Stephens and Byerly

requested additional money, including an additional $60,000.00.

        102.      Stephens and Byerly made these representations to Smietana and other Skycoin

staff with the intent to induce payments and defraud Plaintiffs.

        103.      These statements made by Stephens and Byerly were false when made.

        104.      Stephens and Byerly created scenarios and orchestrated fraudulent crises, making

numerous misrepresentations, solely for the purpose of soliciting more money from Plaintiffs.

        105.      Stephens and Byerly made the following misrepresentations and/or omissions upon

which Plaintiffs justifiably relied to their detriment:

              a. Lied about, concealed, and denied history of litigation against Defendants’
                 associates, business partners, and former corporations;

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            b. Failed to inform Plaintiffs of the FTC Order and government sanctions against their
               former company, even when explicitly asked about any history of litigation prior to
               payment and contract negotiations;

            c. Falsely represented that an unknown third party was targeting Skycoin by linking
               pornographic blogs and other harmful spam content to Skycoin’s website;

            d. Falsely agreed to seek written pre-approval from the Company for incurred
               expenses;

            e. Falsely represented that they would provide marketing and advertisement services
               to Plaintiffs;

            f. Falsely represented that they would provide web design services to Plaintiffs; and

            g. Falsely represented the expenses and costs of said marketing and advertising
               services.

                (See also Facts Common to All Counts)

        106.    Plaintiffs relied upon the representations of Stephens and Byerly and paid them the

requested amounts.

        107.    As a direct and proximate result of Stephens and Byerly’s improper actions,

Plaintiffs have sustained substantial economic damage through loss of business, loss of revenue,

loss of contracts, loss of market visibility, and damage to their reputation.

        WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN         GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

and CATHERINE BYERLY, and each of them, in an amount in excess of $75,000.00, plus

Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

deems just and equitable in the premises.




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                                   COUNT II
               FRAUD – BRADFORD STEPHENS, AARON KUNSTMAN, AND
                            JOEL WAYNE CUTHRIELL

        108.      Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 108 of this Count II as if fully set forth herein.

        109.      On or about January 8, 2018, Plaintiffs entered into an oral agreement with

Stephens, Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services

for Plaintiffs.

        110.      Following that agreement, Stephens defrauded Plaintiffs by failing to provide the

contracted services, creating false “threats,” and extorting funds from Plaintiffs through coercion.

Once discovered, Plaintiffs attempted to distance themselves from Defendants. However, in

retaliation, Stephens, Kunstman, and Cuthriell began making false online profiles and applications

with false information in order to further defraud Plaintiffs out of approximately $2,000,000.00

worth of Skycoin product.

        111.      Plaintiffs offered a reward program (“Reward Program”) to entice customers to

their business.

        112.      In order to obtain a reward under the Reward Program, each participant was

required to submit an application which conformed to S.A.’s terms and conditions. The terms

included the following:

            a. Each customer is only allowed to have one active Skywire Rewards account within
               a single one month period;

            b. Each customer is allowed to claim rewards for up to 8 Skywire nodes in a one
               month period;

            c. Only one instance of the “Skywire Node” software can be run on a single physical
               computer;




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            d. Each customer may operate only a single reward program account within a one
               month period;

            e. Each computer claiming a reward must be a physically separate and independent
               computer; and

            f. It is a violation of the Rewards Program terms and service for a user to run more
               than one Skywire node per physical computer.

        113.     Cuthriell and Stephens developed software to run over 300 "nodes" on a single

physical computer in order to defraud the Reward Program.

        114.     Relying on the misrepresentations by Stephens, Kunstman, and Cuthriell, SA

provided these persons rewards to which they were not entitled, totaling approximately $2-$4

million (the precise amount of which is unknown as they have continued to submit fraudulent

applications continuously and under multiple fake aliases).

        115.     Plaintiffs relied upon the information provided in those online applications and

profiles.

        116.     Had Plaintiffs known that these profiles and applications were being generated and

submitted by Stephens, Kunstman, and Cuthriell repeatedly in order to accumulate Skycoin under

false pretenses, Plaintiffs would not have made Reward Program payments to Stephens, Kunstman,

and Cuthriell.

        117.     Stephens, Kunstman, and Cuthriell made these repeated false representations to

Plaintiffs through these applications and profiles even though they knew that they were false and

made under false pretenses, with an intent to induce Plaintiffs into providing the $2-$4 million in

digital payments/digital assets/digital currency.

        118.     Stephens, Kunstman, Cuthriell have at all relevant times perpetuated and

deliberately concealed this fraud from Plaintiffs.




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        119.    Stephens, Kunstman, and Cuthriell have engaged in a scheme to defraud Plaintiffs

by consistently attempting to conceal this fraud and continue to submit false applications and

profiles to Plaintiffs.

        120.    Plaintiffs relied upon the accuracy and truthfulness of the submitted applications

and profiles, and, had Plaintiffs been aware that the representations of Stephens, Kunstman, and

Cuthriell were false, Plaintiffs would not have acted as they did.

        121.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

actions and misrepresentations, Plaintiffs have sustained damage economically through loss of

business, loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

        WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

excess of $50,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

Plaintiff as this Honorable Court deems just and equitable in the premises.

                              COUNT III
CIVIL CONSPIRACY – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL WAYNE
     CUTHRIELL, MORGEN PECK, CATHERINE BYERLY, AND UNKNOWN
                     INDIVIDUALS AND COMPANIES

        122.    Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 122 of this Count III as if fully set forth herein

        123.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

Companies conspired to destroy Skycoin’s reputation and Plaintiffs’ business by publishing false




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and inflammatory news articles and to extort Plaintiffs of money through making monetary

demands in exchange for the articles not being published.

       124.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

Companies’ acts in furtherance of the conspiracy included, but were not limited to:

           a. Creating and employing a network of journalists to publish fraudulent articles to
              destroy Skycoin’s image and reputation in order to drive down the price of
              Skycoins; and

                   i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                      published false articles regarding the legitimacy of Skycoin and Skycoin’s
                      technology;

                          1. Greene was within Stephens’s network and at all times knew
                             Stephens was not the COO of Skycoin, yet published that he was,
                             and continued to publish false information even after Smietana’s
                             continuous attempts to correct the false claims.

           b. Employing Peck to knowingly write the false and defamatory New Yorker Article
              alleging that Skycoin a fraud and a scam;

           c. Publishing an article in Cointelegraph by Simon Chandler, claiming that Plaintiffs’
              attackers were “emboldened” to physically harm Smietana due to Skycoin’s “shady
              dealings;”

           d. Soliciting individuals to make false complaints against Skycoin in order to have
              Skycoin delisted from the Binance Exchange;

           e. Stealing access to Skycoin’s media accounts and demanding over $150,000.00 for
              return of the accounts;

           f. Refusing to return unspent money that was prepaid and allocated for marketing
              services;

           g. Invoicing unapproved and non-business-related costs and personal entertainment
              costs;

           h. Invoicing Skycoin and/or SA for $50,000.00 in cash payments and refusing to
              provide an explanation or receipts for how the cash was used;

           i. Invoicing Skycoin and/or SA for subcontractors without prior authorization;

           j. Invoicing Skycoin and/or SA full time rates for part-time subcontractors;

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           k. Invoicing Skycoin and/or SA for payment to non-existent persons;

           l. Invoicing Skycoin and/or SA for marketing services performed both before and
              after the company’s relationship with Defendants;

           m. Made false representations to Skycoin staff that costs had been approved by
              Skycoin when they knew said costs had not been approved;

           n. Invoicing Skycoin and/or SA for unapproved “events” on non-existent dates; and

           o. Creating false online profiles and Rewards Program applications with false
              information in order to defraud Skycoin of $2-$4 million.

               (See also Facts Common to All Counts)

       125.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

Companies worked in concert with one another to accomplish this fraud as evidenced by their

various communications and concerted acts against Plaintiffs.

       126.    Stephens, Kunstman, Cuthriell, Peck, Byerly, and Unknown Individuals and

Companies intended to defraud Plaintiffs out of their money, their product, and to tortiously

interfere with their business relationships.

       127.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Peck, Byerly,

and Unknown Individuals and Companies improper actions, Plaintiffs were damaged and defamed,

forced to pay large sums of money, were defrauded of $2-$4 million, and Skycoin was ultimately

not listed on the Bittrex Exchange and was delisted from Binance, resulting in loss of business,

loss of revenue, loss of contracts, loss of market visibility, and loss of reputation.

       WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN     GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS


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AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, MORGEN PECK, CATHERINE

BYERLY, and UNKNOWN INDIVIDUALS AND COMPANIES, and each of them, in an amount

in excess of $75,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

Plaintiff as this Honorable Court deems just and equitable in the premises.

                            COUNT IV
TORTIOUS INTERFERENCE – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL
WAYNE CUTHRIELL, CATHERINE BYERLY, AND UNKNOWN INDIVIDUALS AND
                           COMPANIES

         128.   Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 128 of this Count IV as if fully set forth herein.

         129.   Plaintiffs developed business relationships and contracts with various vendors and

customers since Skycoin’s launch in 2013.

         130.   Skycoin sells non-fungible electronic products that fluctuate in value based upon

the market rates on specific internet exchanges.

         131.   For Skycoin to do business, it must participate in these internet exchange markets,

such as, but not limited to, Bittrex, Binance, Kraken, Poloniex and Bifinex, in order to sell its

goods.

         132.   Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

orchestrated various schemes to undermine the reputation of Plaintiffs and cause these internet

exchange markets, specifically, Bittrex and Binance, to remove Plaintiffs’ products from their

exchanges.

         133.   Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

were fully aware of Plaintiffs’ position within these internet exchange markets.

         134.   Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

were fully aware that Plaintiffs’ Skycoin Token must be sold on these internet exchange markets.

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       135.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

were fully aware that Plaintiffs had agreements and/or expected agreements with these internet

exchange markets.

       136.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

nonetheless acted in concert to cause these internet exchange markets to remove Plaintiffs’ Skycoin

Token from those markets by committing the following acts:

           a. Stephens and Byerly hacked and linked pornographic blogs and other harmful spam
              content to Skycoin’s website to decrease Skycoin’s website’s ranking precipitously
              in search engines and irrevocably destroy Skycoin’s image, reputation, and internet
              presence;

           b. Stephens, Kunstman, Cuthriell, and Byerly created and employed a network of
              journalists to publish fraudulent articles to destroy Skycoin’s image and reputation
              in order to drive down the price of Skycoins;

                    i. Greene, a journalist and reporter, was employed by Stephens and knowingly
                       published false articles regarding the legitimacy of Skycoin and Skycoin’s
                       technology;

                    ii. Greene was within Stephens’s network and at all times knew Stephens was
                        not the COO of Skycoin, yet published that he was, and continued to publish
                        false information even after Smietana’s continuous attempts to correct the
                        false claims;

           c. Stephens, Kunstman, Cuthriell, and Byerly employed Peck to knowingly write a
              false and defamatory article published in The New Yorker alleging Skycoin as a
              fraud and a scam;

           d. Stephens solicited an article to be published in Cointelegraph by Simon Chandler,
              claiming that Plaintiffs’ attackers were “emboldened” to physically harm Smietana
              due to Skycoin’s “shady dealings;”

           e. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
              made public statements bragging that they had paid journalists to publish articles
              to slander the company;

           f. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
              publicly discussed the type and content of false reports that needed to be made
              against Skycoin in order to achieve a delisting from Binance; and


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           g. Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies
              orchestrated having several individuals send repeated complaints to Binance that
              included allegations of drug use and criminal charges against Smietana and other
              baseless allegations.

               (See also Facts Common to All Counts)

       137.    At all relevant times herein, Stephens, Kunstman, Cuthriell, Byerly, and Unknown

Individuals and Companies intended to cause harm to Plaintiffs’ reputation and finances in order

to interfere with their relationships with these internet exchange markets, along with their

customers and vendors.

       138.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Byerly, and

Unknown Individuals and Companies’ improper actions, Plaintiffs have sustained damage

economically through loss of business, loss of revenue, loss of contracts, loss of market visibility,

and loss of reputation.

       WHEREFORE,           Plaintiffs,   BRANDON          SMIETANA,        SKYCOIN         GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $75,000.00,

plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

Court deems just and equitable in the premises.

                            COUNT V
  UNJUST ENRICHMENT – BRADFORD STEPHENS, AARON KUNSTMAN, JOEL
 WAYNE CUTHRIELL, CATHERINE BYERLY, AND UNKNOWN INDIVIDUALS AND
                           COMPANIES




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       139.    Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 139 of this Count V as if fully set forth herein.

       140.    Defendants were provided approximately $860,000.00 in funds to provide

marketing, advertising, and web design services to Plaintiffs.

       141.    Specifically, Plaintiffs made the following payments to Stephens, Kunstman,

Cuthriell, Byerly, Unknown Individuals and Companies, and/or the Smolder Partners:

           a. $107,948.00 ($66,258.00 in the form of four (4) Bitcoins and $41,690.00 in the form
              of 1,100 Skycoin Tokens) in an initial payment for the Marketing Program paid to
              Smolder Partners;

           b. $800,000.00 in Skycoin Tokens paid to Stephens for an internet advertising
              campaign;

           c. $14,752.44 paid to Stephens and Byerly as a result of a fraudulent invoice;

           d. $38,000.00 to Stephens in order to quell the cyber attacks initiated by Stephens;

           e. 20,000 Skycoin Tokens ($842,400.00) to Smolder Partners for the Marketing
              Program budget;

           f. One (1) Bitcoin ($14,314.00) to Smolder Partners for a conference in Miami, Florida;

           g. 3,899 Skycoin Tokens ($121,337.00) to Smolder Partners for the Marketing Program
              budget;

           h. Two (2) Bitcoins ($23,212.00) and 2,625 Skycoin Tokens ($80,929.00) to Smolder
              Partners for Marketing Program labor costs;

           i. Four (4) Bitcoins (56,457.00) and a separate payment of 1.30 Bitcoin to Stephens
              for the Marketing Program and to combat the aforementioned attacks on Skycoin’s
              website; and

           j. $127,000.00 as part of the Extortion Payments to Stephens and Eagle.

               (See also Facts Common to All Counts)




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       142.    In addition to the payments made by Plaintiffs, the Assailants, in connection with

their conspiracy with Stephens, stole 18.88 Bitcoin ($139,160.33) and 6,466 Skycoin

($81,018.98), totaling $220,179.31 from Plaintiffs.

       143.    Stephens, Kunstman, Cuthriell, Byerly, and Unknown Individuals and Companies

also obtained approximately $2-$4 million in Skycoin Tokens through false reward applications.

       144.    Stephens, Kunstman, Cuthriell, Byerly, Unknown Individuals and Companies,

and/or the Smolder Partners invoiced and charged Plaintiffs for work that was never completed.

       145.    These funds and goods were not earned, were stolen by fraudulent means, and

Plaintiffs received no equivalent value for them in return.

       146.    It would be unconscionable and against fundamental principles of justice, equity

and good conscience for Stephens, Kunstman, Cuthriell, Byerly, Unknown Individuals and

Companies, and/or the Smolder Partners to retain the benefit from those funds, which were paid

by Plaintiffs without receiving any benefit in return.

       147.    As a direct and proximate result of Stephens, Kunstman, Cuthriell, Byerly,

Unknown Individuals and Companies, and/or the Smolder Partners’ improper actions, Plaintiffs

have sustained damage economically through loss of business, loss of revenue, loss of contracts,

loss of market visibility, and loss of reputation.

       WHEREFORE,           Plaintiffs,   BRANDON         SMIETANA,     SKYCOIN        GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS,

AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $75,000.00,



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plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

Court deems just and equitable in the premises.

                                 COUNT VI
              DEFAMATION – BRADFORD STEPHENS AND MORGEN PECK

       148.    Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 148 of this Count VI as if fully set forth herein.

       149.    The New Yorker is an American weekly magazine publication owned and published

by Defendant Advance.

       150.    At all times relevant herein, Peck was an actual agent of Advance.

       151.    At all times relevant herein, Peck was an apparent agent of Advance.

       152.    At all times relevant herein, Peck was acting within the course and scope of her

authority as an agent of Advance.

       153.    At all times relevant herein, Peck was acting within the course and scope of her

authority as an apparent agent of Advance.

       154.    On Aug 18, 2021, the New Yorker Article authored by Peck was published in The

New Yorker (see Ex. A).

       155.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

million social media followers.

       156.    Peck published blatant lies and misrepresentations about Plaintiffs in her New

Yorker article including, but not limited to the following:

           a. Misrepresenting Smietana’s relationship with Stephens                  and   Stephens’s
              involvement with Skycoin and Skycoin’s marketing campaign;

           b. Statements alluding to Smietana and Skycoin as a fraud and a scammer, such as:

                    i. “In a way, it makes you into a fraud;”



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             ii. “Is it a scam? I’m 99 percent sure of it”; and

            iii. Suggesting that Skycoin was part of a “pump and dump” scheme.

      c. Falsely stating that Stephens has recordings of Smietana stating, “We want to
         feminize the peasant population to make them more docile ... [i]t’s so they don’t
         revolt;”

             i. Smietana asked Peck on multiple occasions about the existence of the
                alleged recording to verify the contents of her claims for this statement,
                however Peck never confirmed that she obtained such a recording, even
                though it was used as a purported source for factual information in the
                article.

             ii. Smietana denied such statements to Peck multiple times, each time
                 reiterating that they were fabricated and untrue. Peck still published the
                 statements.

            iii. Peck admitted to Smietana that no one she interviewed would corroborate
                 the quotes given by Stephens. Therefore, Peck knew or should have known
                 the published quotes were false.

            iv. Peck knew that Stephens and Kunstman were members of the Neo Nazi alt-
                right internet forum “/pol/” and that similar antisemitic quotes were
                circulated there.

             v. As a result of the publication of the article, a Neo Nazi publication cited to
                the false statement from Peck’s article quoting Smietana, and thereby
                causing damage to Plaintiffs’ reputation.

            vi. As a result of the publication of this statement, Smietana was subjected to
                numerous death threats, harassment, and various hate crimes.

      d. Falsely stating that Smietana invited Binance executives to a Skycoin party during
         a 2018 conference in Las Vegas and instructed Stephens to hire prostitutes for the
         executives;

             i. In fact, it was confirmed there were no Binance executives at the conference
                and the party was a private party of Stephens, without any affiliation to
                Skycoin or Plaintiffs.

             ii. Stephens’s job was to set up meetings at conferences. He unilaterally held a
                 private party without instruction to do so. Any approval for holding an event
                 was contingent upon finding people from Binance, who were, in fact, not in
                 attendance at the conference.



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                       iii. This inaccurate depiction of events was designed to destroy the relationship
                            between Binance and Skycoin and was manufactured solely to do damage
                            to Plaintiffs’ reputation and business.

                       iv. Peck knew or should have known the statements were false because
                           Smietana sent her the messages from Stephens relating to the conference.

                        v. Peck interviewed Michael Terpin (the event organizer) and Daken
                           Freebourne (Skycoin's head of events), who explicitly told Peck that
                           Stephens was a compulsive liar and that his account was fabricated.

                       vi. Peck merged stories from three separate conferences into a non-factual and
                           defamatory account, designed to inflict damages to Plaintiffs.

               e. Publishing conclusory and unsupported statements by others;

                         i. Stating that “according to several people” (without any evidence or
                            support), that Skycoin privately sold to investors at a discounted rate;

                        ii. Publishing numerous unsupported statements supposedly from
                            “employees” of Skycoin, however, Peck told Smietana that she did not have
                            documentation to show who these “employees” were, if and when they
                            worked at Skycoin, or any confirmation of their statements; and

                       iii. Publishing statements made by people against whom she knew Smietana
                            had an ongoing lawsuit against and therefore knew or should have known
                            these were unreliable sources.

               f. Falsely accusing Smietana of pre-mining “a hundred million coins, which were
                  scheduled for circulation;”

                         i. Peck published this statement with full knowledge that Skycoin does not
                            engage in any mining.

                        ii. During fact checking, Peck referenced a website that listed companies with
                            pre-mine scams.5

                                 1. The website listed “SYC Skycoin – premined” under a list titled,
                                    “List of scamcoins – do not use.”

                                 2. SYC Skycoin is a completely different company from SKY Skycoin
                                    (Plaintiff).

                                 3. Peck knew that SYC was not Plaintiffs’ company and that SYC was
                                    not SKY.
5
    The website can be found at: https://altcoins.com/scamcoins

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                    4. Peck falsely accused and published in her article that Skycoin
                       engaged in a pre-mining scam.

      g. Falsely accusing Smietana of directing Skycoin’s marketing unit to purposely
         spread negative rumors to attract attention by stating “In a chat with investors,
         Smietana said that they sometimes spread negative rumors about Skycoin, in order
         to attract attention;”

             i. Peck does not provide support to confirm where this chat was from, who
                the “investors” were, or the full context of the conversations.

             ii. The quote itself is purposely suggestive and alludes that Skycoin publishes
                 negative rumors for promotion but does not clarify who “they” are that
                 “spread negative rumors.”

      h. Falsely accusing Smietana of “plotting new distractions;”

             i. In support of this claim, Peck quoted Smietana, “Quick, someone photoshop
                video of me being beheaded by ISIS and see if you can get them to write an
                article about it.”

             ii. Smietana was improperly quoted and Smietana’s words were purposely
                 skewed by Peck and taken out of context to defame Smietana and Skycoin.

            iii. The quote is a snippet of a message that clearly signifies a joke, in which
                 the full text reads “The media is retarded. They are still writing articles
                 about the ‘insider trading’ of cat memes, fake news. Quick, someone
                 photoshop video of me being beheaded by ISIS and see if you can get them
                 to write an article about it. ‘Kittycash CEO beheaded by ISIS after SEC
                 investigation.’”

      i. Purposely taking direct quotes from chatrooms/messaging conversations and
         placing them out of context to twist their meaning and damage Plaintiffs;

             i. Peck wrote, “A few weeks into the sell-off, a voice message from Smietana
                emerged on Telegram that seemed to imply that the biggest Skycoin
                investors were coordinating their moves in a secret chat room. Smietana
                said in the message, of the investors, “Everyone was basically doing the
                exact opposite of whatever the public was doing.” (Smietana acknowledged
                being in the chat room at one point but claimed that he was barely
                involved).”

                    1. The quote was purposely misconstrued as it had nothing to do with
                       insider trading channels.



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                    2. It was evident from the chat conversations that any reference to any
                       “secret insider trading” was a joke.

                    3. Peck knew that the “secret chat rooms” were, in fact, public
                       channels, accessible to all people.

            ii. Peck quoted Smietana as stating “If you put in a million dollars now, and
                we have a run just as large as the last one, you’re going to be at fifty million
                dollars;”

                    1. This statement was knowingly taken out of context, altering its
                       meaning, and presented Smietana in a false light.

                    2. Peck’s quote claims that Smietana engaged in price promotion for
                       Skycoin, knowing that Smietana was prohibited from making such
                       statements by company policy and that Smietana could be fired or
                       reprimanded for violation of company policy for making these
                       statements.

                    3. Peck knew or should have known that these out of context
                       statements would expose Plaintiff Smietana to legal liability and
                       damage his reputation and business.

                    4. Peck admitted to Smietana that she could find no example of
                       Smietana engaging in price promotion.

            iii. Peck quoted Smietana as stating, “many could be corroborated only by
                 people whom he swore existed but who couldn’t talk because they had
                 government security clearance, or were in hiding, or because he didn’t know
                 their real names;”

                    1. Smietana’s actual quote was, “all software developers who work in
                       cryptography have government security clearance, because
                       government contractors are the only clients of the industry.”

                    2. Peck distorted and/or manufactured, statements wholesale for the
                       purpose of defaming Plaintiffs.

      j. Falsely accusing Smietana of having sole control of the “pre-mined” coins and
         Skycoin’s virtual wallets;

             i. It is public knowledge that Skycoin is an incorporated corporate entity and
                not under the sole control of one person.




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             ii. Peck had possession of Skycoin’s incorporation documents and corporate
                 structure, and therefore knew or should have known that her statements
                 were false.

      k. Accusing Smietana of soliciting advice from an online personality who used a
         Hitler avatar in his profile;

              i. Peck admitted to Smietana during fact checking that she could not find any
                 evidence substantiating her statement that Smietana solicited and made
                 payments to internet users with a Hitler avatar.

             ii. Peck admitted to Smietana that only Stephens and Kunstman had made
                 these claims, and that no other persons could corroborate these statements.

            iii. Peck continued to publish the above statement, knowing its defamatory and
                 false nature.

      l. Alleging that Smietana lied about the extent of his medical injuries sustained from
         the attack on himself and his girlfriend, even after publishing that Smietana’s
         attackers admitted to detaining and injuring Smietana and his girlfriend;

              i. Smietana provided Peck with copies of court proceedings and medical
                 records, clear evidence that the claims she published in the article were
                 false.

      m. Alleging that Smietana used the attack on himself and his girlfriend to “use his
         power to freeze Skycoin transactions,” when Smietana clearly stated in an official
         announcement to the Company that funds were frozen after making sure all Skycoin
         staff were safe after the attack and extortion demands;

              i. Peck knew that Skycoin’s lead developer, Steven Leonard, not Smietana,
                 had initiated freezing the stolen funds from the Chinese marketing team and
                 employee accounts after the company detected embezzlement.

             ii. Peck knew that the funds that were frozen were solely company accounts.

      n. Peck implied that that Smietana had been employed as a software developer by the
         notorious Washington DC lobbyist, Jack Amabrov, who had several felony
         convictions, including a plea bargain for SEC violations; and

              i. Peck was aware that the allegations were false because the company directly
                 informed her that Smietana had briefly spoken to them in 2018, but that no
                 agreement had been reached.

             ii. Peck admitted that the statements were false and apologized to Smietana
                 multiple times for bringing up false claims.

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                  iii. Peck knew or should have known that claiming Smietana had been
                       employed by Jack Amabrov would cause severe damage to Plaintiffs’
                       business and reputation.

           o. Peck implied that one of Skycoin’s mathematical algorithms, “Obelisk”, did not
              actually exist and that Plaintiffs committed fraud.

                   i. Peck knew that these statements were false, as she had possession of both
                      the source codes and white paper for the algorithm.

                  ii. Additionally, Skycoin’s algorithm papers were published on Skycoin’s
                      website and in peer reviewed journal articles. This information was publicly
                      available, and Peck had access to the public links to these algorithms.

                  iii. Peck had this information at the time she claimed these algorithms did not
                       exist.

       157.    Peck wrote that “Stephens came up with a plan to strip Smietana of power and

transfer management of the company to a foundation.”

       158.    Peck, knowing that Stephens’ intentions were to take Skycoin from Smietana,

continued to base her article on information provided mainly by Stephens, completely disregarding

his clear bias and motive to disenfranchise Smietana from Skycoin and seize control of Skycoin.

       159.    After the New Yorker Article was published, a former employee of Stephens and

Kunstman contacted Plaintiffs stating that Peck received money to intentionally produce and

publish a defamatory article attacking Plaintiffs and would receive bonus payments for destroying

Skycoin’s relationship with Binance.

       160.    The statements made by Peck in the New Yorker Article were purposely false and

defamatory in return for financial gain and personal benefit of Peck.

       161.    Peck acted within the scope of her agency with principal Advance when she

submitted and published the New Yorker Article.




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        162.    As a direct and proximate result of Peck’s defamatory and libelous publication,

Plaintiffs have sustained damage economically through loss of business, loss of revenue, loss of

contracts, loss of market visibility, and loss of reputation.

        163.    As a direct and proximate result of Peck’s libelous publication, Smietana suffered

serious damage to his reputation, which resulted in numerous death threats, harassment, and

financial harm to his company.

        WHEREFORE,          Plaintiffs,    BRANDON         SMIETANA,     SKYCOIN       GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

and MORGEN PECK, in an amount in excess of $75,000.00, plus Plaintiffs’ costs herein, as well

as such further and other relief for Plaintiff as this Honorable Court deems just and equitable in

the premises.

                               COUNT VII
           DEFAMATION – ADVANCE MAGAZINE PUBLISHERS, INC., d/b/a
                            THE NEW YORKER

        164.    Plaintiffs repeat and reallege Paragraphs 1 through 88 and Paragraphs 149 through

163, inclusive of subparts, of this Third Amended Complaint at Law as and for Paragraph 164 of

this Count VII as if fully set forth herein.

        165.    Advance is a global mass media company operating various brands, including The

New Yorker.

        166.    The New Yorker is an American weekly magazine publication owned and operated

by Advance.

        167.    At all times relevant herein, Peck was an actual agent of Advance.



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        168.    At all times relevant herein, Peck was an apparent agent of Advance.

        169.    The New Yorker has 6 million monthly readers, 16 million digital users, and 16.8

million social media followers.

        170.    On August 18, 2021, Advance, by and through The New Yorker, published the New

Yorker Article authored by Peck which reached millions of readers worldwide.

        171.    Approximately one week prior to publication, Anna Boots, Fact Checker for The

New Yorker, contacted Smietana regarding the article and stated:

            a. That Peck’s article was the longest fact checking she ever had to do (approximately
               3 months);

            b. That numerous unsubstantiated claims were made in Peck’s article;

            c. That Peck interviewed Michael Terpin regarding the 2018 Las Vegas conference
               and he informed her that Stephens was an unreliable source and a compulsive liar;

            d. That the fact checking process was difficult to complete because almost all the
               information was provided two people, with most claims and statements being
               unsubstantiated; and

            e. That her editor at The New Yorker set a “firm publication date regardless of [fact
               checking] completion.”

        172.    Advance, by and through The New Yorker, published Peck’s article without

properly and completely fact checking the defamatory statements made and checking Peck’s

sources and their credibility.

        173.    As a direct and proximate result of the defamatory and libelous publication in The

New Yorker, Plaintiffs suffered economic damage through loss of business, loss of revenue, loss

of contracts, loss of market visibility, and loss of reputation.

        174.    As a direct and proximate result of the defamatory and libelous publication in The

New Yorker, Smietana suffered serious damage to his reputation, which resulted in numerous death

threats, harassment, and financial harm to his company.

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        WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN         GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendant, ADVANCE MAGAZINE

PUBLISHERS, INC., d/b/a THE NEW YORKER, in an amount in excess of $75,000.00, plus

Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable Court

deems just and equitable in the premises.

                             COUNT VIII
  BREACH OF FIDUCIARY DUTY – BRADFORD STEPHENS, AARON KUNSTMAN,
           JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, AND
               UNKNOWN INDIVIDUALS AND COMPANIES

        175.    Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 175 of this Count VIII as if fully set forth herein.

        176.    At various times, Stephens, Kunstman, Cuthriell, and Byerly were acting as

contractors hired by Plaintiffs to perform certain duties for the marketing of Skycoin.

        177.    Per that relationship and agreement, Stephens, Kunstman, Cuthriell, and Byerly

were to adhere to the terms of the agreement and provide the services promised.

        178.    Stephens, Kunstman, Cuthriell, and Byerly instead engaged in various schemes to

defraud Plaintiffs, including promising marketing and promotions materials that were never

performed, implementing public schemes to damage Plaintiffs’ reputation needing immediate

marketing damage control, and providing marketing services below the quality and type of what

was agreed upon.

        179.    Stephens, Kunstman, Cuthriell, and Byerly did not provide the promised services

to Plaintiffs, despite Plaintiffs having paid for those services.




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        180.   Stephens, Kunstman, Cuthriell, and Byerly had a duty to adhere to the terms of the

agreements and to provide Plaintiffs with the promised services.

        181.   Stephens, Kunstman, Cuthriell, and Byerly breached that duty by failing to adhere

to the terms of the agreements and failing to provide Plaintiffs with the promised services.

        182.   As a direct and proximate result of Stephens, Kunstman, Cuthriell, and Byerly’s

improper actions, Plaintiffs have sustained damage economically through loss of business, loss of

revenue, loss of contracts, loss of market visibility, and loss of reputation.

        WHEREFORE,          Plaintiffs,   BRANDON          SMIETANA,         SKYCOIN        GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

AARON KUNSTMAN, JOEL WAYNE CUTHRIELL, CATHERINE BYERLY, and UNKNOWN

INDIVIDUALS AND COMPANIES, and each of them, in an amount in excess of $50,000.00,

plus Plaintiffs’ costs herein, as well as such further and other relief for Plaintiff as this Honorable

Court deems just and equitable in the premises.

                            COUNT IX
   BREACH OF CONTRACT – BRADFORD STEPHENS, AARON KUNSTMAN, AND
                      JOEL WAYNE CUTHRIELL

        183.   Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 183 of this Count IX as if fully set forth herein.

        184.   On or about January 8, 2018, Plaintiffs entered into an agreement with Stephens,

Kunstman, and Cuthriell wherein these Defendants agreed to provide marketing services for

Plaintiffs.




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        185.    Following that agreement, Stephens failed to provide the contracted services,

creating false “threats,” and extorting funds from Plaintiffs through coercion.

        186.    Stephens, Kunstman, and Cuthriell did not adhere to the terms of the Agreement

despite payment.

        187.    Plaintiffs, at all times relevant herein, fully performed on their obligations under

the their agreement with Stephens, Kunstman, and Cuthriell.

        188.    Stephens, Kunstman, and Cuthriell failed to provide any advertising or marketing

services to Plaintiffs during the duration of the contract.

        189.    Stephens, Kunstman, and Cuthriell breached their obligations under the contract

through the following acts or omissions:

            a. Failing to provide advertising services;

            b. Failing to provide marketing services;

            c. Failing to use the funds provided for the advertising or marketing services;

            d. Failing to provide web design services;

            e. Failing to use funds to effectuate any web design;

            f. Failing to stay within the bounds of the expense budget; and

            g. Attempting to extort additional funds outside of the contract terms.

        190.    As a direct and proximate result of Stephens, Kunstman, and Cuthriell’s improper

actions, Plaintiffs have sustained damage economically through loss of business, loss of revenue,

loss of contracts, loss of market visibility, and loss of reputation.

        WHEREFORE,          Plaintiffs,   BRANDON             SMIETANA,   SKYCOIN        GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully


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pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

AARON KUNSTMAN, and JOEL WAYNE CUTHRIELL, and each of them, in an amount in

excess of $75,000.00, plus Plaintiffs’ costs herein, as well as such further and other relief for

Plaintiff as this Honorable Court deems just and equitable in the premises.

                                   COUNT X
           VIOLATIONS OF 735 ILCS 5/12-7.1 – BRADFORD STEPHENS AND
                              AARON KUNSTMAN

       191.    Plaintiffs repeat and reallege Paragraphs 1 through 87 of this Third Amended

Complaint at Law as and for Paragraph 191 of this Count X as if fully set forth herein.

       192.    Upon information and belief, during the years 2019-2021, Stephens and Kunstman,

through various internet media and in person, made numerous anti-Semitic statements and threats

of death, kidnapping, and other acts of violence against Smietana.

       193.    All of these threats were based on Smietana’s religion and Jewish heritage.

       194.    Stephens and Kunstman also discussed Skycoin as a “Jew coin”, called holders of

Skycoin Tokens “Skygoyim,” and other similar hate speech, which Smietana perceived as a direct

threat due to his being Jewish (See Exhibit C).

       195.    Stephens and Kunstman posted these messages on various social media platforms

and also made said threats directly to Plaintiff.

       196.    In furtherance of their threats, the Assailants invaded Smietana’s home where they

violently beat and tortured Smietana and his pregnant girlfriend for approximately six (6) hours in

order to gain access to Smietana’s computer systems, Skycoin’s source code, Skycoin intellectual

property, company accounts for operation of business, and cryptocurrency wallets.




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       197.    Under threats of further violence and death, Smietana provided the passwords to

his computer. The Assailants stole 18.88 Bitcoin with a market value of $139,160.33 and 6,466

Skycoin with a market value of $81,018.98, totaling $220,179.31.

       198.    As a direct and proximate result of Stephens and Kunstman’s aforesaid unlawful

acts, Plaintiffs were damaged, subjected to religion and heritage-based violence, online

harassment, a home invasion, kidnapping and torture, and had great sums of money stolen by the

Assailants.

       WHEREFORE,          Plaintiffs,   BRANDON         SMIETANA,          SKYCOIN      GLOBAL

FOUNDATION LIMITED, a Singapore Company, and SYMBOLIC ANALYTICS, INC., a

Delaware Corporation, by and through their attorneys, Barney & Karamanis, LLP, respectfully

pray that this Honorable Court enter a judgment against Defendants, BRADFORD STEPHENS

and AARON KUNSTMAN, in an amount in excess of $75,000.00, plus Plaintiffs’ costs herein, as

well as such further and other relief for Plaintiff as this Honorable Court deems just and equitable

in the premises.

                                                  Respectfully submitted,

                                                  BRANDON SMIETANA, SKYCOIN
                                                  GLOBAL FOUNDATION LIMITED, a
                                                  Singapore Company, and SYMBOLIC
                                                  ANALYTICS, INC., a Delaware Corporation

                                                  By: /s/James A. Karamanis
                                                  One of Plaintiffs’ Attorneys

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                      EXHIBIT A
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                                   Annals of Technology



             Pumpers, Dumpers, and Shills:
                  The Skycoin Saga
            The cryptocurrency promised to change the world and make its users rich
                           in the process. Then it began to fall apart.

                                       By Morgen Peck
                                         August 18, 2021
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                             Illustration by Nata Metlukh
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                                                  Save this story




      n an April afternoon in 2011, a twenty-seven-year-old tech entrepreneur named Bradford
O      Stephens arrived at a stucco bungalow near the canals of Venice, California. He had recently
started a new data-analytics company, and had come to speak with a coder named Brandon Smietana,
whom he hoped would get involved. Stephens had already met Smietana online, where he uses the
handle Synth, and where he often debated minute points about math and programming. When
Stephens and Ryan Rawson, an employee who tagged along, arrived, Smietana invited them into a
carpeted den. A computer sat on a table, its casings removed to reveal a tangle of circuits; a sleeping bag
lay on a sofa. Smietana was in his early twenties, with dark hair and a youthful face. Rawson told me,
“He had the air of this mad scientist couch surfing.” Stephens pitched his new company, but got no
traction. Smietana had turned his attention to a new technology: cryptocurrency. “The only people who
have to work for money are the people who cannot create it or print it out of thin air,” he told them.


The first cryptocurrency, Bitcoin—released in 2009 by an anonymous programmer (or a group of them)
called Satoshi Nakamoto—was a feat of computational brilliance. A bitcoin is an abstract unit of value
that people track and spend with digital wallets. When someone contributes her computer’s power to
process Bitcoin transactions, the computer also races to solve an equation, a process called “mining.”
Each solution that meets certain criteria mints new coins. The number created decreases by half every
four years or so—an event known as the Halvening—which keeps the supply limited, guarding against
inflation. The whole economy is maintained on a blockchain, a shared ledger that keeps a tally of every
Bitcoin transaction. As miners add transactions, the Bitcoin software coördinates and finalizes their
contributions, making the ledger transparent and unchangeable and the system nearly impossible for
governments to shut down.

But the technology has a flaw: as more people use it, transactions become slower and more expensive.
The average transaction fee fluctuates wildly; one day last week, it was two dollars and thirty-three
cents, making it more expensive than any major credit card for everyday purchases. The pursuit of a
better Bitcoin quickly became a full-blown academic field, with its own conferences, university courses,
and peer-reviewed journals. But, as Smietana explained over the next few years to anyone who would
listen, he had the solution. He was designing a cryptocurrency that could be sent around the world
instantaneously, for next to nothing. He called it Skycoin.

He was going to use this currency, he said, to create a decentralized version of the Internet, called
Skywire. He planned to build a large mesh network, a system that allows people to use special Internet
routers to share bandwidth with their neighbors. With enough members, a network can bypass service
providers, making it harder for corporations and governments to surveil Internet use. But it’s difficult to
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retain volunteers. “A community network really needs density before it is useful,” Brian Hall, of NYC
Mesh, the largest community network in the U.S., wrote in a blog post. “It can be a chicken and egg
problem.” Smietana’s project proposed a different way to attract people: pay them. His customers would
share bandwidth using routers called Skyminers, and get paid for their service in Skycoin. He envisioned
a new cryptocurrency spent over a community-owned Internet, calling it “the last step to fulfilling
Satoshi’s mission.”

Stephens left his first meeting with Smietana believing that he could be destined for greatness. Skycoin
launched publicly two years later, in 2013. The following year, Stephens attended a party at Smietana’s
new place, an unrenovated warehouse just south of L.A. Someone had painted the walls with images of
horned monsters. “It was very Burning Man meets H. P. Lovecraft,” Stephens told me. Stephens’s friend
Baron Chat, a photographer who attended, said, of Smietana, “He seemed to be receiving his signal
from a different station than everyone else.” According to Stephens, Smietana asked him to join the
fledgling project, but he demurred. (Smietana said he doesn’t remember seeing Stephens at the party.)

The first cryptocurrency boom arrived in 2017. “Several investors I knew, and a lot of my friends, started
pivoting from angel investing to putting money in crypto and seeing insane returns,” Stephens told me.
Skycoin had a “token sale”—a sort of I.P.O. for cryptocurrencies—and was listed on two small
exchanges. By the end of 2017, its price had gone from a little more than a dollar per coin to about fifty
dollars per coin. That December, while Stephens was on vacation with his wife in Japan, Smietana
messaged him with another chance to get involved. It seemed like an opportunity to work on something
revolutionary. But he also thought, Everybody else is getting rich off crypto, so why not me? He said
that he later told Smietana, “I’m going to need 50K up front and I gotta hire a team.” After a couple
days, he checked his Bitcoin wallet and found fifty thousand dollars sitting in it. “I’m, like, ‘I guess I’m
hired,’ ” he said. (Smietana denies sending the money, though he had said he would do so in texts, and
there’s a record of such a transaction on the Bitcoin ledger.) Before leaving Kyoto, he and his wife had
visited a shrine to Inari, the Shinto god of rice, where they left offerings and made wishes. His wife
wished for the health of her father, who was battling cancer. “I asked for wealth and adventure,”
Stephens told me. “And I got one of those.”


    n the past decade, a shift has occurred in the way that cryptocurrencies are distributed. Satoshi put
I   bitcoins into circulation through a reward system: the more computing power you contribute, the
more coins you can mint. Some early adopters paid their rent simply through mining. Around 2012,
though, people began devising blockchains that could be used for more ambitious applications: supply
chains with real-time geolocation, for example, or patient-controlled medical records. Such projects
required capital, compelling founders to experiment with less democratic ways to distribute coins. In
2013, J. R. Willett, the founder of Mastercoin, invented the “initial coin offering,” or I.C.O., the first
token sale: developers partially pre-mined their tokens and then sold them off to raise money. Michael
Terpin, who has managed two hundred such token sales, and who handled public relations for Skycoin,
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told me that the scheme empowers entrepreneurs. “Somebody who had an innovative product could sell
directly, prior to it being built, to an audience of enthusiasts,” he said, without having to “give up a third
of the company.”


A frenzy followed a few years later. Since 2017, hundreds of projects have announced token sales. One
of the most lucrative, eos, raised about three and a half billion dollars in a yearlong I.C.O. Many
projects amassed funds even before their blockchains or applications existed; some prepared assiduously,
but others merely threw together a Web site, a list of advisers (sometimes without their knowledge), and
some semblance of a technical paper (sometimes plagiarized). “A playbook really emerged for how to set
up a legitimate-looking I.C.O.,” Matt Chwierut, the head of research at Smith & Crown, a blockchain
research firm, told me.

In 2018, I attended the North American Bitcoin Conference, in Miami. On the main stage,
representatives from companies with unpronounceable names riled up the crowds. Downstairs, an arcade
of booths hawked every kind of blockchain project: smart glasses, cargo robots, refugee-identity
documents. At a booth for a group claiming to build a volunteer emergency-services network, I asked
why the endeavor required a coin. The attendant told me to come back later when someone more
technical would be arriving.

Because bitcoin mining is regulated by algorithms, everyone, in theory, has a fair chance of getting new
coins. But, to receive pre-mined coins in a token sale, you often have to buy publicly at the sale price or
else negotiate a deal behind the scenes. “A lot of coins were being sold on the side and in secret,” Josh, a
major cryptocurrency investor—who eventually bought into Skycoin, and requested that I use only his
first name, out of concern for his safety regarding another matter—told me. “You’ll do special deals with
people if they give you three or four or five million dollars up front.” This created a sense that making
your fortune required being in the right room to get the right tip.

On the second night of the conference, I went to a strip club for an after-party, where flashing your
badge got you a crypto-inspired cocktail. (I ordered a Satoshi Sour.) Guests exchanged advice, sure that
they were getting the best inside information. But a few hours later a friend whisked me off to a more
exclusive party, thrown at a beachside bar by Patrick Byrne, the former C.E.O. of Overstock. (Byrne
stepped down in 2019, after it was revealed that he had had an affair with the Russian agent Maria
Butina.) The attendees were celebrating the hundred-million-dollar token sale of Byrne’s trading
platform, TZero, which he said was going to “drag Wall Street behind the barn, kill it with an axe, and
re-create it on blockchain.” There were giant platters of sushi and oysters; the rapper Flo Rida pulled
Byrne up onto the bar for a sing-along. Guests exchanged invites to exclusive chat rooms on Telegram,
an app favored by coin enthusiasts. I turned to a man next to me and asked what had brought him to the
party. He rubbed his thumb and forefinger together and shouted, “Making money.”
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     he employment structure at Skycoin was loose, and Stephens joined without a contract. “Here I
T    was, a guy used to wrangling hundred-page venture-capital contracts, and I’m joining a company
with no last names and barely any first names,” Stephens said. Smietana, who by then was living in
Shanghai, had pre-mined a hundred million coins, which were scheduled for circulation. Skyminer
routers were just starting to ship, but sales had already outstripped production. Smietana estimated that
operators who used Skyminers could make between fifteen thousand and forty-five thousand dollars a
month. Most coinholders I spoke to were young men around the world—medical students, craftsmen,
3-D animators—who believed in the project. In chat rooms, Smietana’s followers addressed him with
reverence. “We all are in honor to speak with synth,” a user called Anosis wrote. “It’s like having a
chance to talk to Satoshi.”


Although Stephens studied computer science in college, he admitted that, when he started working with
Skycoin, he “hardly knew anything about crypto.” He was told to handle marketing, and assembled a
team composed mostly of friends and former associates. (Smietana now claims that he contracted a
marketing company that Stephens ran, not Stephens himself.) But he soon realized that word about the
project was already spreading. Large investors recruited in their own circles, and smaller coinholders
hyped Skycoin on social media. At one point, Skycoin advertised a bounty program that promised users
coins in exchange for promotional activities, such as writing blog posts and creating YouTube videos.
One user-made video, titled “Skycoin - To the Moon,” featured footage of a shuttle blasting off next to a
chart of Skycoin’s market value, interspersed with a closeup of glossy lips and the words “YOU
COMIN’?” People who proved their worth on Telegram often got pulled up the ranks. “I started to
spend 90 hours a week in the chat room,” a user called Sudo, who became one of Skycoin’s Telegram
channel moderators, and who refused to tell me his name, messaged me. “They seen how active I was
and offered me a job.”

By early January, 2018, the total estimated value of pre-mined Skycoins had reached almost five billion
dollars. Smietana sent representatives to conferences in New York, Lisbon, San Francisco, and
Singapore, and arranged a retreat in Mauritius. A former marketing contractor, who requested
anonymity out of fear of harassment, recalled that Smietana could spend lavishly on the people who
worked with Skycoin, in one case paying for cryotherapy, vitamin injections, thousand-dollar steak
dinners, and a twelve-thousand-dollar trip to the Esalen Institute. “Dude was very liberal with his
spending and could be very generous,” the marketing contractor said. The team posted a video of a yacht
party, and thundered around in Ferraris. In New York, Skycoin reps cruised in a helicopter to grab
footage of a Skyminer held over Manhattan’s skyline.

That month, Stephens flew to Las Vegas to speak on a panel at the CoinAgenda summit. He wasn’t up
to speed on the technical aspects of Skycoin yet, but he held a Skyminer over his head and said, “You all
are the first to see the new Internet!” On the first day of the conference, Smietana sent Stephens a voice
memo with an urgent request. He was hoping to get Skycoin listed on Binance, one of the world’s
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largest cryptocurrency exchanges, which could help secure its legitimacy. During the I.C.O. boom, it was
common for projects to pay a “listing fee” in order to be included on an exchange. (Binance claims that it
chooses projects based solely on “strict security, legal, and regulatory compliance standards.” In 2018,
facing pressure, it announced that it would donate its listing fees to charity.) Smietana said that he had
paid Binance executives seven and a half million dollars but that they hadn’t followed through. (Binance
confirmed that Skycoin paid it a hundred and fifty thousand Skycoins to spend on “promotion,” which
were worth seven and a half million at the coin’s peak.) Smietana told Stephens to entertain the
executives, to sweeten the deal. Stephens planned a party in a penthouse suite at the Bellagio. Smietana
gave explicit instructions via voice messages: “You have to buy prostitutes for the people at Binance,” he
said. “Get them, like, three girls each.” (Smietana denies any involvement in the party, and claims that
his voice messages about it were “either a joke or a deep fake but probably a deep fake.”)

That night, Stephens and Baron Chat, who had also started working on Skycoin’s marketing, along with
Catherine Byerly, another member of the team, sat in the hotel suite, with champagne on ice. Six escorts
arrived at nine, and the employees instructed them to make the Binance executives feel like “rock stars.”
“To them, I was this, like, stereotypical businesswoman in an Ann Taylor dress,” Byerly said. “But inside
I’m thinking, How did my decisions lead me here?” Chat said, “It felt almost like you were in the process
of living out some bizarre reality that sometimes you see in the movies. The weird excess . . . Crazy shit
happens when you have a corporate account and a green light.” By ten o’clock, the executives hadn’t
shown up, and Stephens began to worry that he’d lost the deal. He couldn’t reach Smietana, so he
frantically called the event organizers. They explained that not only had no Binance reps showed up at
the conference—they weren’t even on the registration list. (A spokesperson at Binance told me that the
company neither requested nor knew about the party.) “That’s when I started taking anything Brandon
said with a grain of salt,” Stephens told me. Still, he decided that, “if this is going to be weird, I’m going
to make it memorable weird.” Some of the escorts took their pay and left; the rest drank champagne and
played Cards Against Humanity with the group into the morning.


        hen Stephens returned from Las Vegas, he set about mapping Skycoin’s progress. One of the
W       company’s main selling points was Obelisk, an algorithm that allowed it to send coins cheaply
and quickly. On Telegram, Smietana insisted that everything that came before was “obsolete and
primitive.” He boasted that Obelisk was written by Houwu Chen, a developer who had worked on
Ethereum, the second-most popular cryptocurrency platform. He posted an academic paper written by
Chen on the Skycoin Web site, claiming that it was a Skycoin white paper. But when Stephens reached
out to Chen, he got no response. “We kept trying to chase people down to ask details, and it was slowly
revealed it just . . . didn’t exist,” he told me. In a later discussion about technical details, a Skycoin
“community manager” told coinholders that “it’s too advanced to share” and that the company “can’t
trust the public with it.” When pressed, Smietana wrote, of Chen, “He is a recluse, I doubt anyone can
contact him or he would respond.” Smietana eventually told me that Chen had taken a payment of a
million Skycoins for his work on the white paper and then left the project. (Chen declined to comment,
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saying, “Just don’t put my name in the article. That’s my statement.”) Stephens discovered that Obelisk
had never been implemented. (Smietana now acknowledges this, but claims that the project has
published some of Obelisk’s code and used it in simulations.)


Skycoin’s payments were fast, but only because transactions were processed on a single server, rather than
on a decentralized network of computers. The server sat in the Shanghai office of Scott Freeman, the
C.E.O. of the C2CX cryptocurrency exchange. This also meant that, if Smietana wanted to, he could
freeze transactions. “The big thing about a blockchain is it’s supposed to be decentralized, and no single
entity is supposed to be able to change it,” Freeman told me. He added, of Skycoin’s setup, “In a way, it
makes you into a fraud.” (Smietana claims that his power to freeze transactions was designed as a
security measure.) Freeman said that he nagged Smietana about implementing Obelisk but that
Smietana told him, “People don’t really care. It’s not worth it. We should spend our resources on other
things.” (Smietana denies this.)

Skycoin’s Web site claimed that multiple payments were scrambled together to provide extra privacy, but
this feature was never implemented in the Skycoin wallet. The pre-mined coins sat in virtual wallets
under Smietana’s sole control. (When pressed, Smietana claimed that he shared control of the coins
with a secret group of advisers, but refused to give me their names.) When Stephens asked to see
Skycoin’s accounting books, Smietana explained that his girlfriend, Sarah, was in charge. Sarah told
Stephens that the accounting was a work in progress. (Smietana denies directing Stephens to Sarah, and
she denies being in charge of the project’s accounting.) Everything seemed haphazard. Stephens was
once paid from a bank account in Mauritius registered under a different name; many employees were
paid in bitcoin or Skycoin.

In early February, 2018, a month after the CoinAgenda conference, Stephens booked a trip to Shanghai
to see Smietana, determined to bring some order to Skycoin. One night, he had dinner with Smietana
and members of a Chinese marketing team that Smietana had hired, at a steak house in Xuhui. As the
dinner began, Smietana rose from his chair and launched into a rambling diatribe of conspiracy theories.
For hours, he catalogued the hidden crimes of a class of global élites who controlled citizens through
virtual reality, medical marijuana, and pornography. At some point, Stephens started recording Smietana
on his phone. “We want to feminize the peasant population to make them more docile,” Smietana says.
“It’s so they don’t revolt.”
Stephens told me, “I just became shell-shocked. What the fuck have I gotten myself into?” He had seen
Smietana post conspiracy theories on Telegram before, but he figured it was a joke. In the weeks after
the dinner, Stephens tried to warn some investors, but felt that they brushed him off: “They would be,
like, ‘Brandon is just doing his thing, and the value of the coin keeps going up.’ ”


    hortly after Stephens returned from Shanghai, a reporter named Tristan Greene published a
S   scathing article about Skycoin on the Next Web, a technology-news Web site, condemning the
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company for pre-mining its coins. The Skyminer router was being sold for one bitcoin—worth about
ten thousand dollars at the time—but Greene highlighted the fact that it was constructed from
components worth about six hundred dollars. Customers got back the ninety-four-hundred-dollar
difference, but it came in Skycoin, which still sold only on small exchanges, making it difficult to trade
in quantity. (The software for the miners was also incomplete; users connecting to Skywire had no way
to pay for the service. Smietana claims that this feature is still under development.) Stephens granted
Greene an interview but couldn’t persuade him of the project’s legitimacy. Greene wrote, “Is it a scam?
I’m 99 percent sure of it.”


Skycoin went into full damage-control mode. The project had been running a black-ops marketing unit
sometimes referred to as Shill Team Six, composed of users plucked from Telegram who specialized in
manipulating attention on the Internet. The “shills” occasionally flooded 4chan and Reddit, keeping
engagement up with memes and bots. A former member of Skycoin’s inner circle, who also requested
anonymity, told me that if someone spoke ill of Skycoin the shills could be sent in to “make their life
difficult,” by digging up embarrassing information. (Smietana denied directing the group, saying it was
“completely out of control.”) The shills found that even bad publicity could be good for Skycoin. In a
chat with investors, Smietana said that they sometimes spread negative rumors about Skycoin, in order
to attract attention. “Direct promotion does not get to front page and has low click rate,” he wrote. “If
they create contraversy, then it directs attention and clicks to skycoin.” (Smietana claimed that these
messages were taken out of context.)

Stephens knew that Smietana pored over texts about crowd psychology and even solicited advice from
DJ Hives, an anonymous online personality who at one point used a Hitler avatar, on controlling public
opinion. In voice messages, DJ Hives referred to Skycoin customers as “fish,” a poker term for easily
exploited players, and encouraged Smietana to cultivate an aura of infallibility: “We want to put you on
the level of deity as far as the masses are concerned.” (When contacted on Telegram, DJ Hives said,
“None of this is correct,” and declined to comment further.)

The team gamed search algorithms into ignoring Greene’s article. “We helped bury that page for a
while,” Sudo, the anonymous user, who claimed to be part of Shill Team Six, messaged me on Telegram.
(Smietana claimed that Skycoin ignored the article.) But word was already spreading. Skeptics showed
up in Skycoin’s social-media channels to ask questions, and Skycoin moderators started blocking them.
“After banning enough losers, everyone left will be winners,” Smietana wrote. Skycoin enthusiasts
smeared Greene on Telegram, accusing him of writing a paid hit piece. When Greene showed up in the
channel to address their concerns, moderators kicked him out. Someone claiming to be a Skycoin
investor e-mailed Greene and threatened to “visit” him, his wife, and their son if he didn’t stop “messing”
with Skycoin, writing, “nothing is really impossible in the world for people like us that grew theire
wealth on crypto.”
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Stephens contacted Michael Terpin, the adviser, to voice his worries, but, he said, “It turns out Terpin
didn’t give a shit.” (Terpin told me that, by this time, his company was phasing out its involvement with
Skycoin. “Brandon’s got a flair for the dramatic,” he said. “Honestly, that’s one reason I found it difficult
to keep working with Skycoin.”) Stephens came up with a plan to strip Smietana of power and transfer
management of the company to a foundation; he still believed that Skycoin could become a reality if
reasonable people were in charge. But, by late February, 2018, six weeks after he joined the project, he
found that he was locked out of both the Skycoin Telegram and his work e-mail. Members of his team
were locked out, too. “The whole thing was so terrible,” Chat, from the marketing team, told me.
Smietana sent an e-mail to the Next Web denying that Stephens represented Skycoin. “The person you
interviewed has nothing to do with Skycoin and is a known scammer,” Smietana wrote. “Please update
the article.” Stephens heard from Smietana again in June, 2018, when Smietana sent him a mysterious
Facebook message in which he claimed that he had acted out of concern for Stephens’s safety. “I saved
your life. You do not even know,” Smietana wrote. “I will tell you in a few years.”


    n July, 2018, a recording leaked of Li Xiaolai, a Chinese billionaire and the founder of a coin that
I   launched with an eighty-two-million-dollar token sale, giving his unfiltered perspective on the
industry. “From the start, I knew one thing,” he said. “The main power to compete here is the traffic.”
Successful coins accrue value, in other words, not because of technical sophistication but because they
get people’s attention. This requires having a founder who can capture the imagination. “All the
successful 100X, 1000X projects—you go and look at the founder, they will definitely be a spin doctor,”
he said. What matters with a coin is that people are talking about it. “The consensus of idiots is still
consensus,” he said.


To some extent, this is true of most modern currencies: they have no value apart from what we
collectively assign them. But the U.S. dollar is supported by government guarantees and controlled
through monetary policies. Bitcoin abolished government backing, but its scarcity is regulated through
algorithms. (Even so, a tweet or statement from a high-profile coinholder like Elon Musk can raise or
crash its price.) Coins that are manually distributed in token sales provide even fewer assurances. It is
often impossible to know how many are in circulation. Their value is built on a promise that some
feature, often still in development, will make them more useful than other currencies. Until that promise
is fulfilled, it is largely a matter of faith. “Money is a social construct,” Smietana wrote, on Telegram. “It
is based upon CONFIDENCE . . . Confidence is a religion and is built upon perception and not
reality.”

Founders that control perception control the price of their coin. According to Chwierut, the blockchain
researcher, during the I.C.O. bubble, it was not uncommon for founders to spend as much as thirty per
cent of their budget on ad campaigns. Some of the effort went to gaming the attention economy,
requesting mentions from influencers or using bots to create an illusion of broad support. Traders can
even use these metrics to manage their portfolios: IntoTheBlock, a “crypto-intelligence” firm, tracks
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Twitter mentions and Telegram-member counts and sells the information to investors; a data platform
called Santiment alerts users when chatter about their coins surges. Recommendation algorithms can
encourage the spread of incendiary content, and coins promoted with controversy and falsehood often
perform well. Some coin promoters use stunts or scandals to keep users engaged. After closing a fifty-
million-dollar token sale, the founder of a cryptocurrency called Savedroid posted a picture of himself at
what looked like an airport with a caption reading “Thanks guys! Over and out,” which was taken as a
confession that he was running off with the funds. A day later, he revealed that he was trolling about
escaping with the money, but only after several articles had been written about the scandal. The firm
ASKfm hired mountaineers to climb Mt. Everest and film themselves leaving a cryptocurrency wallet on
its peak. (The company released a statement saying, “On a market where launching a blockchain
endeavor is not really a newsbreak, companies have to stand out.”) A sherpa died in the process.

Market manipulation is rampant. In schemes called “pump and dumps,” traders meet in exclusive chat
rooms where they coördinate to purchase a coin, causing the trading volume to go up and others to take
interest. When the price is at its highest, the pump-and-dumpers sell, leaving faithful users holding the
bag. In an industry where everyone is a coinholder, there is no one left to pull the alarm. Should
investors realize that their coin is a sham, it would be an act of self-sabotage to raise concerns. Better to
become evangelists, wooing others in order to boost the price.

U.S. law generally requires projects to register with the S.E.C., forcing them to make financial
disclosures that investors could then inspect before buying. Almost none do, giving convoluted rationales
that John Reed Stark, the founder of the S.E.C.’s Internet-enforcement office, told me are “poppycock.”
Not registering can facilitate further rule-breaking, as when, say, influencers promote coins without
disclosing their investment, or projects pump coins with fraudulent claims. Stark said, of I.C.O.s, “Every
single one I ever saw was unlawful on multiple levels.” The S.E.C. began cracking down in 2017, but
prosecution often requires “extraordinary resources from an alphabet soup of federal and state law-
enforcement agencies,” Stark said. As a result, few projects face consequences.


    n the spring of 2018, Skycoin climbed into the list of the top hundred coins, and appeared on a
I   Nasdaq Web cast. That May, Binance announced that it would list Skycoin on its trading platform.
Around the time of the listing, the price jumped thirty-eight per cent. Then, suddenly, it came crashing
down. According to several people involved, Skycoin privately sold to investors at a steep discount—in
at least one case, coins worth millions of dollars—inadvertently giving them an incentive to dump it on
the market as soon as they could. (Smietana denied being involved in such sales.) Smietana had claimed
on Telegram that the investors were restricted from selling. But, as soon as Binance listed Skycoin, the
market flooded with sell orders. Freeman, from the C2CX exchange, had been acting as the project’s
primary “market maker,” using a pool of reserves to provide market liquidity and stabilize prices. “I tried
to hold at about twenty,” he told me. But the sell-off was too much to contain. Coinholders shared their
misery on Telegram. “Its been fun guys, i’m gonns hang myself in 2 hours,” a user named Willy Jr. wrote.
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“Bought 20K at 20 dollars.” A user named Dante wrote, “synth told me this shit would moon,” adding, “i
took a mortage on my house.”


A few weeks into the sell-off, a voice message from Smietana emerged on Telegram that seemed to
imply that the biggest Skycoin investors were coördinating their moves in a secret chat room. Smietana
said in the message, of the investors, “Everyone was basically doing the exact opposite of whatever the
public was doing.” (Smietana acknowledged being in the chat room at one point but claimed that he was
barely involved.) Rumor spread that the S.E.C. would investigate Skycoin as a result, and that Binance
was considering delisting it. In the public chat, coinholders prepared for a death spiral. A user called
Opaque wrote, “I want to say calm down guys, but its really doesnt look good.”

Then, out of nowhere, Smietana announced that he had big news to share once “all the staff are safe.” In
the coming days, he accused members of the Chinese marketing team of breaking into his house with
five gang members, holding him and his girlfriend hostage for six hours, beating him until one of his
ribs broke, and stealing a small quantity of cryptocurrency. Members of the Chinese marketing team
denied this. In a letter to investors, they claimed that Smietana and his girlfriend had pushed them out,
refused to pay them, and frozen their Skycoin wallets, which contained coins that were then worth
somewhere between four and nine million dollars. This was the first apparent instance of Smietana’s
using his power to freeze Skycoin transactions. (Smietana claims that the wallets contained embezzled
company funds.) In their letter, the marketing-team members claimed that they had been invited to
Smietana’s apartment to find a resolution, and a small scuffle broke out in which he got a bruised wrist.
Afterward, Smietana’s girlfriend filed a police report, and four defendants spent a few months in
detention, after admitting to detaining Smietana and his girlfriend in an incident that left them “lightly”
injured.

Smietana blitzed Telegram with messages about the alleged “kidnapping.” “This is the best thing that
has ever happened to Skycoin. Ever...As long as we can keep this drama going, we can get [the trading
volume] even higher.” He amused himself by plotting new distractions: “Quick, someone photoshop
video of me being beheaded by ISIS and see if you can get them to write an article about it.” But
coinholders seemed not to buy it. When he did a live YouTube interview, shortly after the incident,
someone commented, “I dont see one bruise on his face. beaten the shit out of me, what with ? a piece of
toast.?” As the sell-off continued, Smietana blamed it on the “kidnappers” for dumping their stolen
coins. “They have been surpressing the price the whole time,” he wrote.

In November, 2018, Smietana, apparently growing desperate, enlisted John McAfee to promote the coin.
McAfee, once famous for the antivirus software that he developed in the eighties, had earned a
reputation as a kind of cyber outlaw: he was a “person of interest” in a murder in Belize, in 2012, and
subsequently fled the country, later posting images of himself cruising the Caribbean in his yacht,
brandishing guns. He was a sought-after crypto promoter. McAfee tweeted a video that seemed to show
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him with the Skycoin logo freshly tattooed on his back and the message, “Why Skycoin? If you have to
ask, you’ve been living in a fucking closet.” (Smietana admitted to paying McAfee during this period but
insisted that it was a gift to help with “yacht repairs.”) Smietana urged people to buy: “If you put in a
million dollars now, and we have a run just as large as the last one, you’re going to be at fifty million
dollars,” he said, in a video. Then, in March, 2019, McAfee publicly broke ties with Skycoin. (Smietana
told me that McAfee began demanding large fees that he refused to pay.) When asked on Twitter what
he would do about the tattoo, McAfee replied, “I’ll keep it as a reminder that no matter how old I get, I
still get scammed by unscrupulous people with pie in the sky plans. They almost drove me to violence.”
Stephens, watching from afar, felt that he had been spared the worst. He hadn’t behaved perfectly: he
had been taken in by Skycoin’s promise, but he also promoted a coin that he knew little about. After
being cut off, he took Skycoin’s social-media accounts hostage, and unsuccessfully demanded a severance
payment. In the end, he told me, he sold his holdings for thirty thousand dollars. The internal drama
and crashing prices prompted a broader exodus from the project. In 2019, Freeman’s exchange
announced that it was delisting Skycoin. Michael Terpin’s name still appears on the Skycoin Web site,
but he told me that he no longer has anything to do with it. Josh, the cryptocurrency investor, lost faith
after visiting Smietana in China, last year. “Crypto is a bunch of con artists conning each other,” he said.
“Obelisk was always a week away, and it still is.” He sold his holdings and told me that he lost ninety-
nine per cent of his investment.

Investors who sold at the peak would have made large profits, but many average coinholders suffered.
(Smietana claimed that he urged restraint: “I told people not to put money into the market that they
were not prepared to lose.”) Armon Koochek, a recent college graduate in Santa Barbara, California,
invested in Skycoin in 2018, lured by the promise of a new Internet and excited by the “memes and
content on Reddit and Twitter.” He lost some fifteen thousand dollars. He tried to warn others away
from the project in the Telegram chat room, and was soon banned. “I hope I saved a lot of investors,” he
told me. Dael Lithgow, a forty-five-year-old bootmaker in Pietermaritzburg, South Africa, invested
most of his savings in Skycoin in 2017, and convinced his mother and girlfriend to invest, as well. Had
they sold during the boom, the profits would have been “life-changing,” but they held on. “I really
believed in what they were trying to do,” he told me. Today their coins are nearly worthless.

    n the summer of 2019, I met Smietana at a mozzarella bar in Manhattan. He was wearing all black,
I  and his hair was starting to gray. As we sat, he warned me, unprompted, “Honestly, like, ninety-eight
per cent of the people are scammers in blockchain.” Then, preëmpting my questions, he visited every bit
of Skycoin intrigue. The “gang members” who kidnapped him in China had demanded “sixty million
dollars.” The technology for Skywire, the decentralized Internet service, was already “working” and
Obelisk was just “a few months” out. His girlfriend, Sarah, called several times while we were speaking.
He showed me frantic messages from her, and said that he was blowing off an important meeting, but
he kept talking, telling me about his coin’s promise. He seemed to regard me as the next potential pump.
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Almost four hours into my lunch, I made an excuse to leave, saying that I needed to walk to my bank.
Smietana followed along for almost thirty blocks, ranting about his court case in China. Eventually, I
brought him to Times Square, where his girlfriend was waiting. She must have seen something in my
eyes, and said, “He’s a mad scientist.” After New York, they were headed to the Caribbean, where they
would see Terpin and check out the crypto scene. They invited me to join. In the months that followed,
Skycoin’s price dropped below a dollar a coin, but Smietana remained optimistic. He told me, on
Telegram, that he had a new hardware lab where he was developing antennae for the Skyminer, and said
that Skycoin was moving into the medical industry, agricultural automation, and underground mining.

When I confronted Smietana about Skycoin’s history, he began sending me dozens of voice messages a
day, spinning elaborate stories that often contradicted one another. Many could be corroborated only by
people whom he swore existed but who couldn’t talk because they had government security clearance, or
were in hiding, or because he didn’t know their real names. He attacked those who spoke ill of Skycoin,
calling them criminals, junkies, and blackmailers. He claimed at first that he didn’t know Stephens (“I
contacted advisor board and no one involved in Skycoin has heard of Bradford”), then that he was a “con
artist,” then that he was a “federal informant/agent” trying to entrap him. At one point, Smietana even
suggested that he wasn’t the real founder of Skycoin. I began to feel dizzy reporting this story, trying to
sort through the layers of deception and to figure out whom I could trust. Everyone seemed to think
that they could spin what I wrote to their advantage.

Smietana continues to post in the Telegram chat room, assuring loyal coinholders that the features
they’ve waited years for are almost complete. “In that Telegram group, he is king,” the former member of
Skycoin’s inner circle told me. Former employees remain divided about Smietana’s motives. “It’s almost
as if he viewed Skycoin as a money printer,” the former marketing contractor told me. “Everything that
happened was a distraction or ruse to keep people in the dark while he kept his shit-coin casino
operating.” It’s impossible to know how much Smietana made on the currency. (“Overall, I would say, I
did ok,” Smietana wrote to me.) But other founders have pulled “exit scams,” dumping all of their coins
at the market’s height and disappearing entirely, which Smietana never did. One of Skycoin’s lead
software developers—who was also Smietana’s friend from college, and who requested anonymity out of
fear of harassment—doesn’t think Smietana was in it to get rich: “Being a figurehead in blockchain is
like being a cult leader and I think he enjoyed that more than the money.” At one point, Smietana sent
me a voice message, asking, “Why didn’t I just take the seventy million and just, like, run off ?”

In the past several years, the S.E.C. has charged multiple I.C.O. operators with offering unregistered
securities and committing fraud, and the cases have resulted in settlements that have ordered hundreds
of millions of dollars returned to coinholders. Last July, Jack Abramoff, who became famous, in 2006, for
his role in a political-lobbying scheme, pleaded guilty to committing securities fraud with a token sale.
The project, called AML BitCoin, published a white paper in 2017 that listed Smietana as one of its
software developers. (Smietana claims that he was included without his consent.) In October, Spanish
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authorities arrested McAfee on an extradition request from the U.S., where he faced charges of tax
evasion and illegally promoting cryptocurrencies. (In June, he was found dead in his jail cell, in an
apparent suicide.) In the past few years, cryptocurrency founders have tweaked their strategies; instead
of I.C.O.s, they now hold “initial exchange offerings” and “initial decentralized exchange offerings.”
Stark, the former S.E.C. official, told me that the new terminology is “designed to create confusion and
avoid S.E.C. scrutiny, but all of it is the same.” David Silver, a lawyer who represents victims of
cryptocurrency fraud, hopes that, as the S.E.C. enforces securities laws, fraud in the market will decrease.
“Yesterday’s crypto heroes are tomorrow’s crypto felons,” he said. “The statute of limitations is very
long.”

This past January, a Telegram channel named after WallStreetBets, the Reddit forum that supercharged
GameStop’s stock price, targeted Skycoin with a pumping campaign. As the pump spread to other
social-media platforms, the price punched up above five dollars per coin. The mood in the chat was
ecstatic. “I’m frantically moving funds around to buy more,” a user named Krzys P wrote. Smietana
wrote, “MOON MOON LAMBO MOON.” Stephens is now a software developer at Salesforce, and
insists that he is done with cryptocurrency: “My personality is not well suited to fraud, and mafioso, and
everything that crypto is.” He recently returned with his wife to Japan and sought out a new Shinto
shrine where, he said, he wished for good health.




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Morgen Peck is a freelance journalist who has covered cryptocurrency since 2012.


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Trump’s Social-Media Potemkin Village
After an I.P.O. last week, Truth Social is confronting the gaping incongruity between its valuation and the
paltry reality of its product.
By Kyle Chayka




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